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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

  IN RE: ZANTAC (RANITIDINE)                                                                    MDL NO. 2924
  PRODUCTS LIABILITY                                                                             20-MD-2924
  LITIGATION
                                                                    JUDGE ROBIN L. ROSENBERG
                                                          MAGISTRATE JUDGE BRUCE E. REINHART

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                                     ORDER DENYING PLAINTIFFS’
                                 SECOND MOTION FOR RECONSIDERATION

             THIS CAUSE is before the Court on Plaintiffs’ Second Motion for Reconsideration for Leave

  to File Motion at docket entry 2070. The Motion is ripe for review. For the reasons set forth below,

  the Motion is denied.

             Plaintiffs, California citizens, filed1 approximately forty-two cases in California state court.

  Plaintiffs brought a variety of claims against companies that manufactured and sold Zantac—the drug

  at the center of this MDL. Importantly, Plaintiffs named as a Defendant a California-based retailer

  and Defendants removed the cases to federal court, arguing that the California-based retailer had been

  fraudulently joined in an effort to destroy diversity jurisdiction.

             After removal, Plaintiffs filed a motion to remand in which Plaintiffs contended that they had

  not fraudulently joined any party to the case. After Plaintiffs’ cases were transferred to this Court

  and consolidated into this MDL, the Court denied Plaintiffs’ motion to remand without prejudice for

  Plaintiffs to comply with Amended Pretrial Order Number 24 which requires any counsel (other than

  lead counsel) to file a motion for leave to file a motion. Plaintiffs complied with the requirements

  outlined in Amended Pretrial Order Number 24 and, as a result, Plaintiffs’ request to file a renewed

  motion to remand was properly before the Court.

             Defendants argued that a forthcoming motion to dismiss would address the issue of whether


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      A full list of the cases at issue may be found at docket entry 1205, pages 1 through 2.
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  Plaintiffs’ state-law claims were preempted by federal law and, through such a ruling, would address

  whether Plaintiffs fraudulently joined a party. As a result, Defendants requested that the Court defer

  briefing on a motion to remand until after the Court ruled on the motion to dismiss. Plaintiffs did not

  concede that their claims based upon negligence would be impacted by the Court’s ruling on

  Defendants’ motion to dismiss; those claims, according to Plaintiffs, should have been the immediate

  focus of briefing in a renewed motion to remand. In response, Defendants represented that the Court’s

  ruling on the motion to dismiss would dispose of all of Plaintiffs’ claims, including Plaintiffs’

  negligence claims.

         The Court recognized that it should resolve questions of subject matter jurisdiction at the

  “earliest state in a proceeding.” Am Civil Liberties Union of Fla., Inc. v. City of Sarasota, 859 F.3d

  1337, 1340 (11th Cir. 2017). On the other hand, however, the Court noted that it must exercise its

  “great[] discretion to organize, coordinate, and adjudicate its [MDL] proceedings” in a manner that

  is beneficial to all of the Plaintiffs in this case, not just the California-based Plaintiffs who filed the

  motion to remand. See In re Guidant Corp. Implantable Defibrillators Prods. Liab. Litig., 496 F.3d

  863, 867 (8th Cir. 2007).

         The Court resolved these two competing principles by denying Plaintiffs’ motion for leave to

  file and awaiting Defendants’ forthcoming motions to dismiss, however, the Court’s denial was

  without prejudice. The Court informed the Plaintiffs that if the Court’s review of the motions to

  dismiss revealed that the motions would not resolve Plaintiffs’ proffered motion to remand, the Court

  may grant Plaintiff permission to file the motion to remand.

         Defendants filed their motions to dismiss in two phases. After the first phase, Plaintiffs filed

  their first motion for reconsideration, arguing that because the motions to dismiss did not address the

  subject matter of their motion to remand, the Court should grant them leave to file. The Court denied
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  that motion without prejudice because Defendants had not yet filed all of their motions to dismiss—

  phase two remained. After Defendants filed their remaining motions to dismiss, Plaintiffs filed a

  second motion for reconsideration, the Motion before the Court. Again, Plaintiffs argue that because

  the motions to dismiss will not resolve the subject matter of their motion to remand, the Court should

  immediately grant them leave to file.

          If the Court concludes that Plaintiffs’ contention is correct—the motions to dismiss will not

  resolve the proffered motion to remand—the Court may, as it has already said, grant Plaintiffs leave

  to file their motion to remand. The Court has not reached such a conclusion at this time. The Court

  is reviewing all motions to dismiss as quickly and thoroughly as it can and has already solicited the

  earliest-possible dates from counsel for the Court to hold hearings on the motions to dismiss.

          For the foregoing reasons, it is hereby ORDERED that Plaintiffs’ Second Motion for

  Reconsideration [DE 2070] is DENIED.

          DONE and ORDERED in Chambers at West Palm Beach, Florida, this 6th day of November,

  2020.

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                                                        ROBIN L. ROSENBERG
  Copies furnished to Counsel of Record                 UNITED STATES DISTRICT JUDGE




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